                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MISSOURI
                         ST. JOSEPH DIVISION

KAREN BACKUES KEIL,                  )
                                     )
                      Plaintiff,     )
                                     )
      v.                             )       Case No.:   5:18-CV-06074-BP
                                     )
MHM SERVICES, INC., et al.,          )
                                     )
                      Defendants.    )

        Defendant’s Suggestions in Opposition to Plaintiffs’
  Motion to Exclude Testimony of Dysart, Leach, Sandy, and Savage

      Defendant Edward Bearden properly disclosed individuals with

discoverable information in his initial disclosures as required by Rule

26(a)(1)(A)(i). Despite having information about the individuals whom Bearden

identified in those disclosures for over three years, plaintiffs never informed

Bearden that they believed his disclosures inadequate or that it prevented

them from investigating their cases. Instead, Plaintiffs waited until two weeks

before trial in these consolidated cases seek to exclude those witnesses’

testimony at trial. This would be a draconian result when any failure in

Bearden’s disclosures was harmless to plaintiffs. This Court should deny

Plaintiffs’ motion.

      Bearden disclosed Robin Dysart, Stephen Leach, Darrell Sandy, and

David Savage in the Keil case. He disclosed David Savage in Keil, Betz, Zieser,


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and Doe. Plaintiffs argue that Dysart, Leach, and Sandy were not disclosed in

Betz, Zieser, and Doe. That is correct. Bearden did not fail to disclose Dysart,

Leach, and Sandy in Betz, Zieser, and Doe. Bearden did not believe that those

three individuals were likely to have discoverable information in those three

cases. This Court consolidated these cases for trial after the close of discovery

at Plaintiffs’ request over Bearden’s objection. Plaintiffs now use that

consolidation to argue that Bearden should be prohibited from calling

witnesses to testify in his defense. But Bearden identified individuals likely to

have discoverable information in each individual case. This Court should not

sanction Bearden for doing so.

      Bearden provided defense counsel’s contact information for each of these

individuals. Plaintiffs never took issue with the contact information provided in

the disclosures. Indeed, the contact information provided was entirely

appropriate. In any event, it was harmless to Plaintiffs. Defense counsel in

these cases and the Dean case produced numerous current employees and one

former employee for depositions.

      The cases that Plaintiffs cite to support their argument are inapposite.

None of those cases involve a party seeking to exclude the testimony at trial of

individuals named in the opposing party’s initial disclosures. Few of those

cases seek to exclude the testimony of witnesses at trial. Most arose in the

context of a discovery dispute. Several arose as the result of a late disclosure.
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Some even involve the disclosure of unnamed individuals. Bearden identified

the individuals by name in his initial disclosures at the time the discovery

process commenced. Plaintiffs were able to conduct further investigation into

Bearden’s initial disclosures. Plaintiffs could have deposed the named

individuals, as they did with numerous other Department of Corrections’

employees, including several of those named on Bearden’s initial disclosures.

Plaintiffs also could have informed Bearden during the discovery process—

after all the spirit, if not the letter, of Rule 37 is to resolve discovery disputes

between the parties without court intervention—that Plaintiffs believed the

initial disclosures were incomplete. Bearden was unaware that Plaintiffs

deemed his initial disclosures of the named individuals as incomplete until

Plaintiffs filed this motion. Any failure was harmless to Plaintiffs.

      For these reasons, Defendant Bearden respectfully requests that the

Court overrule Plaintiffs’ Motion to Exclude Testimony and for such further

relief as the Court deems just and proper.

                                Respectfully submitted,

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                             Certificate of Service

      I hereby certify that on January 19, 2021, I filed the foregoing

electronically with the Clerk of Court to be served by operation of the Court’s

electronic filing system upon all counsel of record.


                                     /s/ Nicolas Taulbee
                                     Assistant Attorney General




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